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15
                              IN THE UNITED STATES DISTRICT COURT
16
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

18                                                       Case No. 3:20-cv-03414-JSC
      Christopher James Alcala,
19
                              Plaintiff,                 JOINT STIPULATION AND ORDER
20                       v.                              FOR DISMISSAL WITH PREJUDICE

21    CITY OF COTATI, Officer Anthony Garber,
      Corporal Brian Deaton and DOES 1 to 50,
22
      included.
23
                              Defendants.
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            The parties to this action, acting through counsel, and pursuant to Federal Rule of Civil
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27   Procedure 41(a)(1)(A)(ii) hereby stipulate, in consideration of a negotiated settlement executed

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               Case 3:20-cv-03414-JSC Document 36 Filed 12/21/21 Page 2 of 3




     by them, to the Dismissal With Prejudice of this action, including all claims stated herein against
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 2   all parties, with each party to bear its own attorney's fees and costs.

 3
                                                    ____/s/
 4                                                  PATRICK CIOCCA
                                                    JAI GOHEL
 5                                                  Attorneys for Plaintiff CHRISTOPHER ALCALA

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 7
                                                    ____/s/
 8                                                  DALE ALLEN
                                                    KEVIN P. ALLEN
 9                                                  Attorneys for Defendants
                                                    CITY OF COTATI, OFFICER ANTHONY
10                                                  GARBER, CORPORAL BRIAN DEATON
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                                                  ORDER
 1
            The stipulation is approved. The entire action, including all claims stated herein against
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     all parties, is hereby dismissed with prejudice.
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     Dated: ________________                                      ______________________________
 5                                                                Hon. Jaqueline S. Corley
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